Case 1:24-cr-00556-DEH   Document 130-1   Filed 02/18/25   Page 1 of 5




                Exhibit A
      Case 1:24-cr-00556-DEH                     Document 130-1                Filed 02/18/25            Page 2 of 5



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February 3, 2025


Emil Bove
Deputy Attorney General
United States Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530


Re:     U.S. v. Eric Adams, Case No. 24-Cr-556-DEH (S.D.N.Y. 2024)

Dear Mr. Bove:

        We write on behalf of Mayor Eric Adams and in follow-up to our meeting on Friday,
January 31. In particular, we wanted to address questions you have raised with respect to the
indictment’s impact on Mayor Adams’s ability to lead New York City, including by working with
the federal government on important issues of immigration enforcement and national security.

        At the outset, it warrants emphasis again that Mayor Adams is an innocent man who has
been forced into a fight for his freedom and good name against the most formidable opponent
imaginable—the United States Government. He finds himself in this unenviable position because
of the political ambitions of the former U.S. Attorney for the Southern District, Damian Williams,
and the weaponized Justice Department that rubber-stamped Mr. Williams’s improper crusade.
Under Mr. Williams’s direction, federal prosecutors and law enforcement agents orchestrated
nearly a year’s worth of pre-indictment press leaks regarding their “investigation” of Mayor
Adams, the design and effect of which was to cripple Mayor Adams politically and erode the
presumption of innocence to which he is entitled. Indeed, since Mr. Williams’s resignation, he
has wasted no time publicly touting his prosecution of Mayor Adams in a thinly veiled op-ed and
on his personal, made-for-the-campaign-circuit website.

         While Mr. Williams may have moved on to the next stage of his political plans, Mayor
Adams remains in the midst of an unwanted civil war with the federal government. This
adversarial posture necessarily curtails Mayor Adams’s ability to work hand-in-hand with his
federal counterparts on the myriad issues that overlap New York City and the country as a whole.
It is a daily challenge that manifests itself in numerous ways—both obvious and subtle—and it
will only increase as Mayor Adams’s trial draws nearer and he is increasingly required to devote

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      Case 1:24-cr-00556-DEH           Document 130-1         Filed 02/18/25       Page 3 of 5




attention to his defense. The trial will begin on April 21, 2025, and is expected to last at least four
weeks, excluding jury deliberations which are unpredictable in length and could extend the time
to verdict considerably. As you know, the Mayor will be in court at least eight hours per day, five
days per week until it is over. And in the weeks before the trial begins, he will have no choice but
to spend most of his time preparing for the trial with his counsel. Conservatively, Mayor Adams
will be spending 75% of his waking hours preparing for or on trial from now until it concludes in
late May or early June. Mayor Adams has every right, and no choice, but to defend himself against
these false charges. Nor will he resign from office and abandon the millions of New Yorkers who
voted for him and leave City Hall in the hands of a successor who will actively thwart his efforts
to uphold and enforce the law and protect and defend the city.

        As one prominent example of the indictment’s impact, Mayor Adams’s security clearance
was revoked following his indictment, and he can no longer be briefed on critical matters of
national security. That means there is and will continue to be an absence of local leadership in
circumstances where it is needed the most, and in a city where national-security issues arise
constantly. This roadblock naturally extends to immigration enforcement, and it will become
increasingly problematic as the Trump administration seeks to aggressively enforce immigration
laws and remove undocumented immigrants who pose a threat to Americans’ safety. The Mayor
needs to be in lockstep with federal law enforcement, federal agency heads, and federal prosecutors
to carry out this critical shared mission. That is evident from Mayor Adams’s close coordination
with the Department of Homeland Security and DHS Secretary Noem in connection with the recent
immigration raids involving criminal suspects. While those raids were successful, the federal
government cannot possibly rely on Mayor Adams to be a fully effective partner in all situations
in ongoing public-safety missions while he is under federal indictment and stripped of access to
the most important information.

         This problem is not limited to classified issues of national security; it also extends to
everyday matters of public safety. For instance, Mayor Adams has previously worked closely with
a joint taskforce on firearms that involved federal and local law enforcement and the U.S.
Attorneys’ offices for the Southern and Eastern Districts of New York. This task force helps
ensure that weapons are removed from the streets and weapons traffickers are identified, arrested,
and prosecuted. The fact that these same federal agencies are now involved in prosecuting Mayor
Adams makes it more challenging for him to fully participate in and execute on the task force’s
mission. Beyond obvious examples such as these, it simply is not possible to quantify nor predict
all of the ways in which the Southern District’s misguided pursuit of Mayor Adams will continue
to complicate his work with the federal government.

        Mayor Adams’s independent abilities to exercise his powers have also been complicated
by his indictment. The Mayor derives his power from the New York City Charter and the inherent
nature of his political position. His powers allow him to take actions such as preventing the Office
of the Corporation Counsel from litigating challenges to immigration enforcement, preventing
appointed city employees from taking public stances against enforcement efforts, re-opening the
ICE office on Rikers Island, and directing the NYPD to supply manpower to assist federal
immigration agents.        Indeed, just last week, Mayor Adams stepped in to clear up
miscommunication between DHS and the NYPD, and he helped ensure that additional NYPD
manpower was allocated to keep federal agents safe during dangerous criminal immigration raids.


                                                  2
      Case 1:24-cr-00556-DEH           Document 130-1         Filed 02/18/25       Page 4 of 5




        While the indictment does not automatically strip Mayor Adams of any powers, it has
opened the door to his potential removal from office. At the local level, the Charter establishes a
Committee on Mayoral Inability that consists of the speaker of the City Council and other city
officials, and the committee can vote to remove Mayor Adams from office, either temporarily or
permanently. NYC Charter § 10(d)(2)-(5). Upon Mayor Adams’s challenge to any such vote, the
full City Council has the power to finally resolve the matter. The Governor also has the ability to
remove Mayor Adams from office now that he is under indictment. NYC Charter § 9. Both
scenarios are real threats that grow by the day. As Mayor Adams continues to help with DHS’
ramping enforcement operations, the risk that his political opponents—and in particular, the City
Council—will try to remove him from power will only increase. Governor Hochul also could
conclude that, at a certain point, the Mayor can no longer devote the attention that his position
requires and accordingly take steps to remove him.1

         With respect to day-to-day leadership, Mayor Adams’s political muscle is weakened by an
indictment. Leaders of various city agencies such as the NYPD and the Office of the Corporation
Counsel serve at the Mayor’s pleasure and are subject to removal by him. Yet, to the extent that
city officials perceive the Mayor to be politically weakened, on the ropes, or not long for the office,
he loses some ability to make sure officials and their agencies are complying with his directives.
These officials may become emboldened to seek alliances with the City Council or the Public
Advocate, both of whom are staunchly opposed to Mayor Adams’s longtime desire to roll back
certain pieces of New York’s sanctuary city policies.

        Mayor Adams has seen the significant impact of this indictment across all facets of his job.
His traditional political partners—both locally and in Albany—are hesitant to continue working
with him. It has become increasingly difficult to retain talented staff, and the committed staff who
have stayed by the Mayor’s side have been distracted from his mission by the crush of overbroad
federal subpoenas seeking all manner of documents and records. Local business and community
leaders are reluctant to engage with City Hall, and there is an overall atmosphere of waiting out a
Mayor whose days are numbered. The list goes on and on.

         Now is a watershed moment for New York City and the rest of the United States. For the
first time in Mayor Adams’s administration, the federal government shares his commitment to
public safety and longtime desire to confront the migrant crisis head-on. But at the same time the
federal government is seeking to accelerate long-overdue immigration enforcement efforts, Mayor
Adams is being increasingly pulled away from the streets of his city by the necessity of preparing
his defense against criminal charges—as unfounded as they are. As his trial grows near, it will be
untenable for the Mayor to be the ever-present partner that DHS needs to make New York City as
safe as possible. It will be untenable for him to stay on top of city agencies and officials to ensure
that his agenda on issues like immigration is being respected. And it will be untenable for him to
unify the city around a much-needed rollback of certain sanctuary city policies. To be clear, Mayor
Adams has always been laser-focused on addressing the migrant crisis, and that will not change


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  If Mayor Adams is removed from office, he would be replaced at least temporarily by Public
Advocate Jumaane Williams, a frequent outspoken critic of Mayor Adams’s desire to protect New
Yorkers by combating the migrant crisis.


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      Case 1:24-cr-00556-DEH           Document 130-1         Filed 02/18/25      Page 5 of 5




no matter what happens with this case. But the simple reality is that there is only so much one
man can hope to do while also fighting for his liberty and to restore his good name.

                                          *       *       *

        Through this prosecution, Damian Williams and his Southern District prosecutors sought
to expand federal bribery laws past the breaking point to criminalize something that happens in
politics every day: politicians being treated differently than the average citizen through things like
flight or hotel upgrades, free meals, or nice seats at sporting events. These prosecutors have sought
to turn federal bribery law into a blanket prohibition on the receipt of anything that could be
characterized as a “perk,” in exchange for nothing other than a vague understanding that the
politician will help with some non-specific future issue. That is in direct contrast to decisions by
the conservative majority of the Supreme Court in McDonnell and Snyder to reign in federal
bribery law and prevent the over-criminalization of everyday political activity. And, given the real
risk that its so-called “bribery” theory would not stick, the Southern District tacked on charges
related to alleged straw donor schemes, without any credible evidence that Mayor Adams had
knowledge of improper donations.

        The legal and factual weaknesses in this case must be weighed against the cost on New
York City, which has already been immense following more than a year of leaks regarding the
“investigation” and other government-fueled innuendos about Mayor Adams’s character. There
is a reason that the Justice Department does not prosecute sitting presidents, and while a mayor is
not a president, Mayor Adams is nonetheless the leader of this country’s largest city and needs to
be an important partner to the President and his administration. An honest balancing of these
concerns against the unsupported prosecution theories in this case militates strongly in favor of
dismissal. A Justice Department driven purely by the rule of law never would have authorized this
prosecution in the first place. But as it happened, there was essentially zero engagement by the
former Attorney General or Deputy Attorney General, despite Mayor Adams’s repeated requests
that the Department take a long, hard look at this house of cards. Instead, the Justice Department
rubber-stamped an incredibly weak case against a politician who had fallen far out of favor with
the former President and other prominent Democrats.

       Given the exigency of this matter, we would appreciate the opportunity to speak further
with you, and we are available for a call or meeting at your convenience. Thank you very much
for your attention to this matter.



Sincerely,

/s/ Alex Spiro

Alex Spiro
William A. Burck




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